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PAUL PONOMARENKO in Pro Per
1650 S. Amphlett Blvd. Suite 220
San Mateo, CA 94402

Phone: {650) 597-0928

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UNITEI) STATES D
NORTHERN DISTRICT OF NEVADA

 

PAUL PONOMARENKO, an individual,
Plai_ntiff,
v.

PROJECT VEGAS MANSION, corporate

an individual; and DOES l through 50,
Defendants.

entity of unknown form, NATHAN SHAPIRO,

 

NATHAN SHAPIRO, an individual,
Counterelaimant,
v.'

PAUL PoNOMARENKo, an individual,
DOES 1 through 50 and ROE business entities
51-100,

Counterdefendants.

 

NATHAN SHAPIRO, an individual,
Third Party Plaintiff,
vs.

SUMMIT ESTATE, INC. DBA SUMMIT
ESTATE RECOVERY CENTER, a

California corporation; LUKE GERHARD
KROGH, an individual; DOES 1 through 50
and ROE business entities 51 through 100,

Third Party Defendants.

 

 

STRICT COURT

Case No.= 2=18-¢v-00216-RFB;cwH

PLAINTIFF PAUL
PONOMARENKO’S ANSVVER TO
FIRST AMENDED COUNTERCLAIM

 

 

 

PLAINT|FF PAUL PONOMARENKO ANSWER TO FIRST AMENDED COUNTERCLAIM
CASE NO. 2:18-cv-00216-RFB-CWH

 

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ANSWER TO COUNTER-CLAIMS AGAINST PONOMARENKO
Plaintiff and Counter-Defendant Paul Ponomarenko (“Ponomarenko” or “Plaintiff”) hereby
answer the counter-claims asserted by Defendant Nathan Shapiro (“Shapiro” or “Defendant”) as set
forth below. By way of general response, all of the allegations in the counter-claims are denied
unless specifically admitted herein. Any admission of facts is limited to the specific facts referenced
and alleged by Defendant and do not apply to any conclusionsl
MMW
]. In connection with any legal conclusions stated in Paragraph l, P|aintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph l, noting that Defendant Shapiro is engaged in
a business in Nevada under the business name Project Vegas Mansion as set forth in his
Answer. Dkt 56 at ‘[[ 3.
2. In connection with any legal conclusions stated in Paragraph 2, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintitf admits that Paul Ponomarenko is '
an individual residing in Califomia. 1 7
SUBJECT MATTER JURISDICTION
3. In connection with any legal conclusions stated in Paragraph 3, Plaintit`f is not required to,
and thus does not, admit or deny such allegations Plaintit`f otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 3. l
PERSONAL JURISDICTION
4. In connection with any legal conclusions stated in Paragraph 4, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiti` otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 4.
MIJ_E
5 . In connection with any legal conclusions stated in Paragraph 5, Plaintit`f is not required to, '
and thus does not, admit or deny such allegations Plaintiif otherwise denies Defendant

Shapiro’s allegations as set forth in Paragraph 5.A

 

 

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PLA[NTIFF PAUL PONOMARENKO A`NSW`ER TO FIRST AMENDED COUNTERCLAIM
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ALLEGATIONS COMMON TO ALL COUNTS
Responses to Paragraphs 1-5 are set forth in Paragraphs 1-5 above.
In connection with any legal conclusions stated in Paragraph 7, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 7.
ln connection with any legal conclusions stated in Paragraph 8, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 8.
In connection with any legal conclusions stated in Paragraph 9, Plaintiff is not required to,
and thus does not, admit or deny such allegations. Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 9.
In connection with any legal conclusions stated in Paragraph 10, Plaintiff is not required to,
and thus does not, admit or deny such allegations. Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 10. q
In connection with any legal conclusions stated in Paragraph ll, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 11. _
In connection with any legal conclusions stated in Paragraph 12, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 12.
In connection with any legal conclusions stated in Paragraph 13, Plaintiff_is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 13. y
In connection with any legal conclusions stated in Paragraph 14, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant l
Shapiro’s allegations as set forth in Paragraph 14. n l n
In connection with any legal conclusions stated in Paragraph 15, Plaintiff is not required to,

and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant

 

 

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PLAINTlFF PAUL PONOMARENKO ANSWER TO FlRS'I` AMENDED COUNTERCLAI
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Shapiro’s allegations as set forth in Paragraph 15.

l6. ln connection with any legal conclusions stated in Paragraph 16, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 16. d

17. ln connection with any legal conclusions stated in Paragraph 17, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph l7. l

18. In connection with any legal conclusions stated in Paragraph 18, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 18.

19. In connection with any legal conclusions stated in Paragraph 19, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 19. ' _

20. ln connection with any legal conclusions stated in Paragraph 20, Plaintiff is not required to, _
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 20.

21. In connection with any legal conclusions stated in Paragraph 21, Plaintiff is not required to, l
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 21. l

22. In connection with any legal conclusions stated in Paragraph 22, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 22. t ' ' l

23. In connection with any legal conclusions stated in Paragraph 23, Plaintiff is ncit required to,

l
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant

Shapiro’s allegations as set forth in Paragraph 23. l
24. In connection with any legal conclusions stated in Paragraph 24, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant

Shapiro’s allegations as set forth in Paragraph 24.

 

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PLA|NT|FF PAUL PONOMARENKO ANSWER TO FIRST AMENDED COUNTERCLAIM l

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25. In connection with any legal conclusions stated m Paragraph 25, Plaintiff ls not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 25.

26. In connection with any legal conclusions stated in Paragraph 26, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 26.

27. In connection with any legal conclusions stated in Paragraph 27, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 27. _

28. ln connection with any legal conclusions stated in Paragraph 28, Plaintiff is not required to,
and thus does not,_.:admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 28.

29. In connection with any legal conclusions stated in Paragraph 29, Plaintiff islnot required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 29. _

30. In connection with any legal conclusions stated in Paragraph 30, Plaintiff is not required to, '
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 30.

31. In connection with any legal conclusions stated in Paragraph 31, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant f
Shapiro’s allegations as set forth in Paragraph 3].

32. In connection with any legal conclusions stated in Paragraph 32, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 32.

33. In connection with any legal conclusions stated in Paragraph 33, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant z
Shapiro’ s allegations as set forth m Paragraph 33. l

34. In connection with any legal conclusions stated in Paragraph 34, Plaintiff is not required to,

 

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PLA[NTIFF PAUL PONOMARENKO ANSWER TO FIRST AMENDED COUNTERCLAIM
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Case 2:18-cV-00216-RFB-CWH Document 104 Filed 04/25/18 Page 6 of 17

and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 34. l

35. In connection with any legal conclusions stated in Paragraph 35, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 35. v

36. In connection with any legal conclusions stated in Paragraph 36, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 36.

37. In connection with any legal conclusions stated in Paragraph 37, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 37.

38. In connection with any legal conclusions stated in Paragraph 38, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant n
Shapiro’s allegations as set forth in Paragraph 38. _

k39. ln connection with any legal conclusions stated in Paragraph 39, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 39.

40. ln connection with any legal conclusions stated in Paragraph 40, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 40. l

4l. In connection with any legal conclusions stated in Paragraph 41, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant

Shapiro’s allegations as set forth in Paragraph 41.

42. In connection with any legal conclusions stated in Paragraph 42, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant l ’
Shapiro’s allegations as set forth in Paragraph 42. y

43. In connection with any legal conclusions stated in Paragraph 43, Plaintiff is not required to,

and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant

 

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PLA[NT|FF PAUL PONOMARENKO ANSWER TO FIRST AMENDED COUNTERCLAIM
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Shapiro’s allegations as set forth in Paragraph 43.

44. In connection with any legal conclusions stated in Paragraph 44, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 44.

45. In connection with any legal conclusions stated in Paragraph 45, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 45.

46. In connection with any legal conclusions stated in Paragraph 46, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant l
Shapiro’s allegations as set forth in Paragraph 46.

47. In connection with any legal conclusions stated in Paragraph 47, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant

Shapiro’s allegations as set forth in Paragraph 47.

FIRST CAUSE OF ACTION
(Breach of Contract Against Ponomarenko)

48. Responses to Paragraphs l-47 are set forth in Paragraphs 1-47 above.

49. In connection with any legal conclusions stated in Paragraph 49, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’S allegations as set forth in Paragraph 49.

50. In connection with any legal conclusions stated in Paragraph 50, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies lJefendant
Shapiro’s allegations as set forth in Paragraph 50. n

51. In connection with any legal conclusions stated in Paragraph 51, Plaintiif is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant l
Shapiro’s allegations as set forth in Paragraph 51.

52. In connection with any legal conclusions stated in Paragraph 52, Plaintiff is not required to,

and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant

 

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PLAINTIFF PAUL PONOMAR.ENKO ANSWER TO FIRST AMENDED COUNTERCLAIM
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Shapiro’s allegations as set forth in l__’aragraph 52.
53. ln connection with any legal conclusions stated in Paragraph 53, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant

Shapiro’s allegations as set forth in Paragraph 53.

SECOND CAUSE OF ACTION
(Breach of Non-Disclosure and Coniidentiality Provisions Against Ponomarenko)

54. Responses to Paragraphs l-53 are set forth in Paragraphs 1-53 above.

55. In connection with any legal conclusions stated in Paragraph 55, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant f ~
Shapiro’s allegations as set forth in Paragraph 55.

56. ln connection with any legal conclusions stated in Paragraph 56, Plaintiff is not required to, `
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 56.

57. In connection with any legal conclusions stated in Paragraph 57, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant 7
Shapiro’s allegations as set forth in Paragraph 57 . l

58. ln connection with any legal conclusions stated in Paragraph 58, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 58.

59. In connection with any legal conclusions stated in Paragraph 59, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant q
Shapiro’s allegations as set forth in Paragraph 59. l

60. In connection with any legal conclusions stated in Paragraph 60, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise`denies Defendant
Shapiro’s allegations as set forth in Paragraph 60.

61. ln connection with any legal conclusions stated in Paragraph 61, Plaintiff is not required to, j

and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant

 

PLAINTIFF PAUL PONOMARENKO ANSWER TO FIRST AMENDED COUNTERCLAIM
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Shapiro’s allegations as set forth in Paragraph 61.
THIRD CAUSE OF ACTION
(Breach of Non-Compete Provision Against Ponomarenko)
Responses to Paragraphs 1-61 are set forth in Paragraphs l-61 above.
In connection with any legal conclusions stated in Paragraph 63, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiti` otherwise denies Defendant
Shapiro’s allegations.as set forth in Paragraph 63.
In connection with any legal conclusions stated in Paragraph 64, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 64. l
In connection with any legal conclusions stated in Paragraph 65, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 65.
ln connection with any legal conclusions stated in Paragraph 66, Plaintiff is not required to,
and thus does not, admit or denysuch allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 66. 7
[n connection with any legal conclusions stated in Paragraph 67, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 67.
In connection with any legal conclusions stated in Paragraph 68, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 68. n
In connection with any legal conclusions stated in Paragraph 69, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 69. _
FOURTH COUNTERCLAIM
(Tortious Interferenee With Prospective Advantage Against Pono'rnarenko)

Responses to Paragraphs 1-69 are set forth in Paragraphs 1-69 above.

 

 

 

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PLAINTIFF PAUL PONOMARENKO ANSWER TO FIRST AMENDED COUNTERCLAIM
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7l. In connection with any legal conclusions stated in Paragraph 71, Plaintiff is not required to, `
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 71.

72. ln connection with any legal conclusions stated in Paragraph 72, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 73. n l

73. ln connection with any legal conclusions stated in Paragraph 74, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 74, n

74. ln connection with any legal conclusions stated in Paragraph 74, Plaintiff is not required to,'
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 74.

7 5. In connection with any legal conclusions stated in Paragraph 75, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 75.

76. In connection with any legal conclusions stated in Paragraph 76, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant '
Shapiro’s allegations as set forth in Paragraph 76. l _

77. ln connection with any legal conclusions stated in Paragraph 77 , Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 77.

FIFI`H COUNTERCLAIM
(Civil Conspiracy Against Ponomarenko)

78. Responses to Paragraphs 1-77 are set forth in Paragraphs l-77 above. l

79. In connection with any legal conclusions stated in Paragraph 79, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant '
Shapiro’s allegations as set forth in Paragraph 79.

80. In connection with any legal conclusions stated in Paragraph 80, Plaintiff is not required to,

 

 

 

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PLAINTIFF PAUL PONOMARENKO ANSWER TO FIRST AMENDED COUNTERCLAIM
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and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant l
Shapiro’s allegations as set forth in Paragraph 80.

81 . In connection with any legal conclusions stated in Paragraph 81, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph Sl.

82. ln connection with any legal conclusions stated in Paragraph 82, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 82.

` srXTH’coUNTERCLAIM'
(Breach of the Covenant of Good Faith and Fair Dealing Against Ponomarenko)

83. Responses to Paragraphs l'-82 are set forth in Paragraphs 1-82 above.

84. In connection with any legal conclusions stated in Paragraph 84, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant 7
Shapiro’s allegations as set forth in Paragraph 84. -,

85. In connection with any legal conclusions stated in Paragraph 85 , Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 85. f n 7

86. ln connection with any legal conclusions stated in Paragraph 86, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant'_ l
Shapiro’s allegations as set forth in Paragraph 86. l l

87. ln connection with any legal conclusions stated in Paragraph 87, Plaintiff is not required to,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant 1 v
Shapiro’s allegations as set forth in Paragraph 87. l

88. In connection with any legal conclusions stated in Paragraph 88, Plaintiff is not required td,
and thus does not, admit or deny such allegations Plaintiff otherwise denies Defendant
Shapiro’s allegations as set forth in Paragraph 88. v l

AFFIRMATIVE DEFENSES

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In further response to the counterclaims and third-party complaint, Plaintiff seta forth the l

 

 

 

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PLAINTIFF PAUL PONOMAR.ENKO ANSWER TO FIRST AMENDED COUNTERCLAIM
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following affirmative defenses and hereby reserve the right to amend this Answer to assert
additional defenses as further information becomes available.

FIRST AFFIRMATIVE DEFENSE
(Failure to State A Claim)

Each of Defendant’s Counterclaims fail to state a claim against Plaintiff upon which relief
can be granted.

SECOND AFFIRMATIVE DEFENSE
v (Statute of Limitatious)

Each of Defendant’s counter-claims and third-party complaint is barred by the applicable
statutes of limitations

THIRD AFFIRMATIVE DEFENSE
(Estoppel)

Each of Defendant’s counter-claims is barred in whole or in part by the doctrine ofestoppel.
Defendant’s own failure to perform the terms of the agreement is the cause of failure by the

Answering Parties to effectively perform the agreementl

FOURTH AFFIRMATIVE DEFENSE
(Unclean Hands)

Each of Defendant’s counter-claims is barred in Whole or in part by Defendant’s unclean 4
hands and wrongful acts Defendant has engaged in the conduct that he complains of in this action.
Defendant has breached the contract and the non-disclosure and confidential iclause. Defendant’s
conduct constitutes unclean hands and bars Defendant for equitable relief in this action.

FIFTH AFFIRMATIVE DEFENSE
(Laches)

Each of Defendant’s claims is barred by the doctrine of laches as Defendant’s delay in
bringing this lawsuit is inexcusable given that Plaintiff has been significantly prejudiced
Defendant’s negligence in acting more promptly has unfairly impaired Plaintiff’s ability to defend
himself because witnesses and/or evidences needed may have become unavailable or lost. n

srxTH AFFIRMATIVE DEFENSE
(Proximate Cause)

 

 

 

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PLA.lNT[FF PAUL PONOMARENKO ANSWER TO FIRST AMENDED COUNTERCLAIM
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Defendant Shapiro’ s Cross-Complaint ls barred 1n whole or in part because damages
sustained by Defendant Shapiro, if any, were actually and proximately caused by Defendant
Shapiro’ s own conduct or misconduct.

SEVENTH AFFIRMATIVE DEFENSE
(Acts or Omissions of Others)

Defendant Shapiro’s Cross-Complaint is barred in whole or in part because any damages '
sustained by Defendant Shapiro, if any, were actually and proximately caused by the conductor
misconduct of persons other than Answering Parties.

EIGHTH AFFIRMATIVE DEFENSE
(Failure to Mitigate)

Plaintiff denies that Defendant suffered any damages, butin the event that he did, such
damages were caused 1n their entirety or in part by Defendant’ s failure to mitigate.

NINTH AFFIRMATIVE DEFENSE
(Acquiescence)

Each of Defendant’s counter-claims is barred by the doctrine of acquiescence

TENTH AFFIRMATIVE DEFENSE
(License)

Each of Defendant’s counter-claims is barred in whole or in part by the fact that Defendant
conferred a license, express and implied, to use any of its intellectual property, if any such
intellectual property existed, for the benefit of Plaintiff" s training and experience as part of the
Agreement. Such license was granted without any additional expectation of compensation beyond

the agreed upon terms of the Agreement.

ELEVENTH AFFIRMATIVE DEFENSE
(Consent)

Each of Defendant’s counter-claims is barred in whole or in part by the fact that Defendant
consented, both expressly and impliedly, to use any of its intellectual property, if any such
intellectual property existed, for the benefit of Plaintiff’s training and experience as part of the

Agreement. Such consent was granted without any additional expectation of compensation beyond

 

 

 

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PLAINTIFF PAUL PONOMARENKO ANSWER TO FlRST AMENDED COUNTERCL.AIM
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the agreed upon terms of the Agreement.

TWELFTH AFFIRMATIVE DEFENSE
(Failure to Join Indispensable Parties)

Each of Defendant’s counter-claims is barred in whole or in part by Defendant failing to join
indispensable parties.

THIRTEENTH AFFIRMATIVE DEFENSE
(Good Faith)

Defendant’s damages, if any, are limited by the fact that Plaintiffs had innocent intentions and
acted in good faith at all times during their interactions with Defendant and its associates and affiliates

FOURTEENTH AFFIRMATIVE DEFENSE
(Setoff)

To the extent that Plaintiff has been harmed by Defendant’s failure to perform, Plaintiff is
entitled to a setoff of any damages or other monetary relief awarded to Defendant

FIFI`HTEENTH AFFIRMATIVE DEFENSE
(Formation of Valid Contract)

Defendant Shapiro’s Cross-Complaint is barred because no valid contract was formed.

SIXTEENTH AFFIRMATIVE DEFENSE
(Information Readily Ascertainable)

Defendant’s counter-claims are barred, in Whole or in part, by the fact that all or part of
Defendant’s alleged trade secrets could have been readily ascertained by proper means. Defendant
has failed to establish that its alleged intellectual property constitutes a trade secret, and even if they
do, have failed to establish that such trade secrets were not derived from information readily l
ascertainable v

SEVENTEENTH AFFIRMATIVE DEFENSE
(Frustration of Purpose)

_ Defendant’s first counter»claim states that he was not appropriately compensated for his _
services during the term of the agreement and that Plaintiff breached an implied contract between the
parties, but Defendant breached the agreement and failed to provide the services promised by ~

Defendant in the Agreement. Defendant thereby prevented the joined from moving forward in any

 

 

 

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PLAINTIFF PAUL PONOMARENKO ANSWER TO FIRST AMENDED COUNTERCLMM
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meaningful way and prevented Plaintiffs from complying with the terms of any implied contract if
any existed.

EIGHTHTEENTH AFFIRMATIVE DEFENSE
(Lack of Certainty)

Defendant’s counter-claims are barred, in whole or in part, because they lack certainty. To
the extent that any damages or injury accrued to Defendant, which Plaintiff denies, any such injury
or damage was the result of Defendant’s own actions and/or by intervening facts, circumstances,
parties or events over Which Plaintiff had no control and for which Plaintiff is not legally responsible
or liable. h

NINETEENTH AFFIRMATIVE DEFENSE

(Failure of Condition Precedent)

Defendant’s first counter-claim is barred in part or in whole because Defendant failed to
satisfy condition precedent to Plaintiff’s obligations, if any. Defendant’s first counter-claim states
that Defendant was not appropriately compensated for his services during the term o_f the Agreement
and that Plaintiff breached the contract between the parties, but Defendant breached the contract by
failing to provide the services promised to Plaintiff as set forth in the Agreement. In doing so,
Defendant failed to complete the work he had agreed to complete and effectively abandoned the l
Agreement. These actions prevented the Agreement from moving forward and prevented Plaintiff
from having any meaningful mechanism by which to compensate Defendant for the performed work,
assuming such an obligation existed, and negating any obligation to do so regardless Defendant’s
failure to complete the requisite work also was a failure of condition precedent in connection with
any implied contract and eliminated Plaintiff’s obligation to comply with any terms of the alleged
implied contract, if any existed. n n

TWENTIETH FIRST AFFIRMATIVE DEFENSE
(Anticipatory Repudiation)

Defendant’s first counter-claim is barred in part by the doctrine of anticipatory repudiation.
Defendant’s first counter-claim states that Defendant was not appropriately compensated for his n __ l

services during the term of the Agreement and that Plaintiff breached the contract between the

 

 

 

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PLAINTIFF PAUL PONOMARENKO ANSWER TO FIRST AMENDED COUN'I`ERCLAIM
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parties, but Defendants anticipatorin breached the contract by failing to provide the services
promised to Plaintiff as set forth in the Agreement. T hese actions prevented the Agreement from
moving forward and prevented Plaintiff from having any meaningful mechanism by which to
compensate Defendant for the performed work, assuming such an obligation existed, and negating
any obligation to do so regardless Defendant’s failure to complete the requisite work also was an
anticipatory breach in connection with any implied contract and eliminated Plaintiff’s obligation to
comply with any terms of the alleged implied contract, if any existed.

TWENTY FIRST AFFIRMATIVE DEFENSE
(Comparative Fault or Negligence)

Any and all alleged events and happenings, injuries, losses or damages referred to in lthe '
Cross-Complaint were directly and proximately caused and contributed to, in whole or in part, by the
carelessness and negligence of Defendant herein, and therefore the extent of loss, damages or injury
sustained by Defendant, if any, should be reduced in proportion to the amount of negligence or fault
attributable to Defendant. Defendant has failed timely, fully, and adequately to perform all necessary
conditions under the purported agreement 4 l l

TWENTY SECOND AFFIRMATIVE DEFENSE
- (Causation)

Although the Cross-Complaint is groundless and without merit,l if the Court finds there is a
contestable issue, Defendant is barred from recovery herein in that the conduct of Defendant, and
other persons unknown to the answering parties constituted a supervening, intervening cause of the
damages, injuries and losses allegedly sustained by Defendant. `

TWENTY THIRD AFFIRMATIVE DEFENSE
(Undiscovered Defense)

Having not had the benefit of discovery and given that Defendant has notl disclosed much of _
the information in his possession in connection with this matter, Plaintiff has insufficient knowledge
and/or information upon which to form a belief as to whether the additional defenses are available

and hereby reserve their right to assert additional defenses at the appropriate time.

 

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PLAINT[FF PAUL PONOMARENKO ANSWER TO FIRST AMENDED COUNTERCLAIM _
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DATED: April _?_3, 2018 Respectfully submitted,

By: '“ ' ")
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PAUL PoNoMARENKo

 

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PLAINTIFF PAUL PONOMARENKO ANSWER TO FIRST AMENDED COUNTERCLAIM
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